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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              NEWNAN DIVISION

YVONNE BROWN,                          )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
HIBACHI EXPRESS 530 GA INC             )
and YOU DA ZHU,                        )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendants HIBACHI EXPRESS

530 GA INC and YOU DA ZHU pursuant to the Americans with Disabilities Act,

42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this

Court as follows:

                          JURISDICTION AND VENUE

      1.       This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendants’ failure to remove physical barriers to access and

violations of Title III of the ADA.

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       2.       Venue is proper in the federal District Court for the Northern District

of Georgia, Newnan Division, as the parcel of real property at issue in this case,

and concerning which Plaintiff seeks injunctive relief, is located in Carroll County,

Georgia.

                                       PARTIES

       3.       Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Douglasville,

Georgia (Douglas County).

       4.       Plaintiff suffers from Epilepsy, Multiple Sclerosis (“MS”) and has

suffered multiple injuries resulting in irreversible damage to her legs, and is

disabled as defined by the ADA.

       5.       Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.       Plaintiff uses a wheelchair for mobility purposes.

       7.       Defendant HIBACHI EXPRESS 530 GA INC (hereinafter “Hibachi”)

is a Georgia corporation that transacts business in the State of Georgia and within

this judicial district.

       8.       Hibachi may be properly served with process via its registered agent


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for service, to wit: You Da Zhu, 1872 Thompson Bridge Road, Gainesville,

Georgia, 30501.

      9.       Defendant You Da Zhu (hereinafter “Zhu”) is, an individual whom,

upon information and good faith belief, has been a resident of the State of Georgia

at all times relevant hereto.

                            FACTUAL ALLEGATIONS

      10.      On or about July 18, 2021, Plaintiff was a customer at “Hibachi

Express,” a business located at 530 Bankhead Highway, Carrollton, Georgia

30117.

      11.      Zhu is the owner (or co-owner) of the real property and improvements

that are the subject of this action. (The structures and improvements situated upon

said real property shall be referenced herein as the “Facility,” and said real

property shall be referenced herein as the “Property”).

      12.      Hibachi is the lessee (or sub-lessee) of the Facility and Property.

      13.      Plaintiff lives approximately twenty-five (25) miles from the Facility

and Property.

      14.      Plaintiff regularly travels in the near vicinity of the Facility and

Property.

      15.      Plaintiff’s access to the business located at 530 Bankhead Highway,


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Carrollton, Georgia 30117 (Carroll County Property Appraiser’s parcel number

C04 0060014), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of her disabilities, and she will be denied

and/or limited in the future unless and until Defendants are compelled to remove

the physical barriers to access and correct the ADA violations that exist at the

Facility and Property, including those set forth in this Complaint.

      16.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      17.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      18.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      19.    On July 26, 1990, Congress enacted the Americans with Disabilities

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Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      20.    The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      21.   The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      22.   The Facility is a public accommodation and service establishment.

      23.   The Property is a public accommodation and service establishment.

      24.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      25.   Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      26.   Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      27.   The Facility must be, but is not, in compliance with the ADA and


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ADAAG.

      28.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      29.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      30.    Plaintiff intends to visit the Facility and Property again in the very

near future as a customer and as an advocate for the disabled in order to utilize all

of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facility and Property, but will be unable to fully do so

because of her disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facility and Property that preclude and/or

limit her access to the Facility and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those


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barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      31.      Defendants have discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      32.      Defendants will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendants are compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      33.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      a.       The accessible parking spaces on the Property are not

               adequately marked, in violation of section 502.1 of the 2010


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         ADAAG standards.

b.       The accessible parking spaces on the Property each have a slope

         and cross-slope in excess of 1:48 (one to forty-eight), in

         violation of section 502.4 of the 2010 ADAAG standards.

c.       There are no accessible parking spaces on the Property that

         have adjacent access aisles, in violation of section 502.3 of the

         2010 ADAAG standards.

d.       The accessible ramp on the Property projects into the vehicular

         traffic lanes, in violation of section 406.5 of the 2010 ADAAG

         standards.

e.       The side flares of the above-described ramp have extreme

         slope, in excess of 1:10 (one to ten), in violation of section

         406.3 of the 2010 ADAAG standards. In the alternative, the

         ramp lacks finished edges (or edge protection), in violation of

         section 405.9 of the 2010 ADAAG standards.

f.       The ground surfaces of the accessible route on the Property

         have vertical rises in excess of ¼” (one quarter inch) in height,

         have broken and unstable surfaces, and fail to comply with

         section 403.2 of the 2010 ADAAG standards.


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      g.       The doors to the restrooms in the Facility have a minimum clear

               width less than 32” (thirty-two inches), in violation of section

               404.2.3 of the 2010 ADAAG standards.

      h.       The restroom doors in the Facility do not provide for

               permissible minimum maneuvering clearance, in violation of

               section 404.2.4 of the 2010 ADAAG standards.

      i.       The Facility and Property have not been adequately maintained

               in operable working condition for those features of facilities

               and equipment that are required to be readily accessible to and

               usable by persons with disabilities, in violation of section 28

               C.F.R. § 36.211.

      j.       Upon information and good faith belief, Defendants fail to

               adhere to a policy, practice and procedure to ensure that all

               features and facilities at the Facility and Property are readily

               accessible to, and usable by, disabled individuals.

      34.      Without limitation, the above-described violations of the ADAAG

made it more difficult and dangerous for Plaintiff to exit and re-enter her vehicle

while on the Property, more difficult and dangerous for Plaintiff to utilize the ramp

servicing the Property, more difficult for Plaintiff to travel upon the accessible


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route on the Property, and rendered the restroom inaccessible to Plaintiff.

      35.     The violations enumerated above are not a complete list of the

barriers, conditions or violations that exist at the Facility and Property, and

Plaintiff requires an inspection of the Facility and Property in order to determine

all of the discriminatory conditions present at the Facility and Property in violation

of the ADA.

      36.     The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      37.     All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      38.     Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      39.     Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendants have the financial resources to make the necessary

modifications.


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      40.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      41.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendants are required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      42.    Plaintiff’s requested relief serves the public interest.

      43.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      44.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendants pursuant to 42 U.S.C. §§ 12188 and 12205.

      45.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendants to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Hibachi Express 530 GA Inc in violation of the

             ADA and ADAAG;


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(b)   That the Court find You Da Zhu in violation of the ADA and

      ADAAG;

(c)   That the Court issue a permanent injunction enjoining Defendants

      from continuing their discriminatory practices;

(d)   That the Court issue an Order requiring Defendants to (i) remove the

      physical barriers to access and (ii) alter the subject Facility and

      Property to make them readily accessible to, and useable by,

      individuals with disabilities to the extent required by the ADA;

(e)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

      litigation expenses and costs; and

(f)   That the Court grant such further relief as deemed just and equitable

      in light of the circumstances.

                                Dated: November 18, 2021.

                                Respectfully submitted,

                                /s/Craig J. Ehrlich
                                Craig J. Ehrlich
                                Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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